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                     IN THE UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

 PAUL ZWIER,                             :
                                         :
        Plaintiff,                       :
                                         :
  v.                                     :          Civil Action File No.
                                         :
 EMORY UNIVERSITY and                    :       1:20-cv-03265-MHC-RDC
 JAMES B. HUGHES, JR.,                   :
                                         :
        Defendants.                      :

                JOINT MOTION TO EXTEND DISCOVERY
              AND TO STAY THE CASE PENDING MEDIATION

       Plaintiff Paul Zwier (“Plaintiff”) and Defendants Emory University and James

B. Hughes, Jr. (collectively “Defendants”) jointly file this Motion to Extend

Discovery and to Stay the Case Pending Mediation. In an attempt to resolve this

matter, Plaintiff and Defendants (collectively the “Parties”) have scheduled a

mediation with Mr. Hunter Hughes. The first available mediation date for Mr.

Hughes and the Parties, however, is April 8, 2021. Discovery is set to expire May

12, 2021, and no depositions have yet been taken.

       The Parties intend to use the intervening time to prepare for and participate in

the mediation to further the goal of resolving this matter without the need for further

litigation. To allow the Parties to focus resources on resolution and not litigation

prior to mediation, and to avoid the possibility that there will be insufficient time to
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complete discovery if mediation fails, the Parties seek a sixty-day extension of the

discovery deadline for this matter through and including July 12, 2021. The Parties

also respectfully request that the deadlines in the Scheduling Order [Doc. 23] be

extended consistent with this requested discovery extension.

      Provided this discovery extension is granted, then the Parties also request that

the Court stay the case through April 15, 2021 to permit them to focus their resources

and attention on resolution and not litigation. The Parties will notify the Court on

or before April 15, 2021, regarding the outcome of the mediation.

      Therefore, the Parties respectfully request that this Court extend discovery

through and including July 12, 2021, and if this request is granted, to stay this case,

through and including April 15, 2021, so that they may mediate their dispute. A

proposed order is attached for the Court’s convenience.

      Respectfully submitted: February 25, 2021.

 /s/ M. Travis Foust                           /s/ Michael W. Johnston
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Counsel for Plaintiff                   Counsel for Defendants




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                     IN THE UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF GEORGIA
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PAUL ZWIER,                            :
                                       :
        Plaintiff,                     :
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  v.                                   :             Civil Action File No.
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JAMES B. HUGHES, JR.,                  :
                                       :
        Defendants.                    :

                           CERTIFICATE OF SERVICE

       I hereby certify that on February 25, 2021 I filed the within and foregoing

JOINT MOTION TO EXTEND DISCOVERY AND STAY THE CASE

PENDING MEDIATION with the Clerk of Court using the CM/ECF system,

which will automatically send notification of such filing via e-mail to the following

counsel of record:

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                                Atlanta, Georgia 30309
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       Respectfully submitted: February 25, 2021.

                                                 /s/ M. Travis Foust
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